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UNITED STATES COURT OF APPEALS

FOR THE SIXTH CIRCUIT
100 EAST FIFTH STREET, ROOM 540
Deborah S. Hunt POTTER STEWART U.S. COURTHOUSE Tel. (513) 564-7000
Clerk CINCINNATI, OHIO 45202-3988 www.ca6.uscourts.g0v

Filed: August 20, 2018

Mr. David J. Weaver

U.S. District Court

for the Eastern District of Michigan

231 W. Lafayette Boulevard

Fihh Floor Theodore Levin U.S. Courthouse
Detroit, MI 48226-0000

Re: Case No. 17-2169, Bruce Meyers, et al v. Village of Oxfora', et al
Originating Case No. : 2:17-cv-10623

Dear Clerk,

Enclosed is a copy of the AMENDED mandate filed in this case.

Sincerely yours,

s/Roy G. Ford
Case Manager
Direct Dial No. 513-564-7016

cc: Ms. Laura Bailey Brown
Mr. Philip Lee Ellison
MI. Carlito Harry Young

Enclosure

¢ Case 2:17-cv-10623-DPH-DRG ECF No. 32 filed 10/12/18 PagelD.535 Pagezofz
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UNITED STATES COURT OF APPEALS
FOR THE SIXTH CIRCUIT

No: 17-2169

Filed: August 20, 2018

BRUCE MEYERS; KALLIE ROESNER-MEYERS; EUGENIA CALOCASSIDES
Plaintiffs - Appellants

V.

VILLAGE OF OXFORD; JOE YOUNG; SUE BOSSARDET; MICHAEL SOLWOLD;
ROBERT CHARLES DAVIS

Defendants - Appellees

MANDATE

Pursuant to the court's disposition that was filed the AMENDED mandate for this case hereby

issues today.

COSTS: To be recovered by Philip Lee Ellison

Filing Fee ........................ $
Printing ........................... $

Total .................... $ $505.00

